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                     THE UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION
                  ___________________________________

THE UNITED STATES OF AMERICA,
                                                      Case No: 1:20-CR-183
             Plaintiff,
                                                      Honorable Robert Jonker
v.

BRANDON CASERTA,

             Defendant.


        BRIEF IN SUPPORT OF DEFENDANT BRANDON CASERTA’S
                   MOTION TO COMPEL DISCOVERY

                                    BASIC FACTS

      The Government began investigating this case in mid-March 2020. From the

beginning this investigation involved a confidential human source identified in discovery

as “CHS-2.” CHS-2 is the central governmental figure in this alleged conspiracy and

remained highly involved in all aspects of the investigation through October 7, 2020 when

arrests were made and charges brought forth. CHS-2 communicated in person and

electronically with Defendant as well as CHS-2’s FBI handlers S.A. Impola and S.A.

Chambers. Additionally, CHS-2’s cell phone was used to communicate with all indicted

members of the alleged conspiracy, with other UCE’s (undercover confidential employee),

with other CHS’s, with other un-indicted alleged co-conspirators, with witnesses to this

case and, again, with his F.B.I. handlers Impola and Chambers. This communication

lasted from the beginning of the investigation through the end, approximately 7 months.

The form of communication involved multiple platforms on the phone to include voice

calls, voicemails, text messages, encrypted messages including multiple sub-group
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encrypted chats and possibly other methods yet unknown to the defense. CHS-2 has been

paid significant amounts of money, including funds for CHS-2’s phone and other

electronic equipment. During a state preliminary examination CHS-2’s FBI handler S.A.

Impola testified regarding payments to CHS-2, known as “Dan”, as follows:

      Q.     Okay. Is there any other, did he [Dan] receive any other assets like
             a car?

      A.     I mean all the other assets are included in the reimbursement, so
             there’s a you know there’s a computer, a phone,
             communication devices and accessories that go with that,
             that were included in the six thousand dollar reimbursement that –
             - that was accounted for.

      Q.     Okay. So that’s a total, yesterday I had thirty thousand, but it’s
             more like fifty four thousand, in total compensation?

      A.     That’s correct; fifty four thousand is what I had as my total
             payment.

      (People v. Pete Musico File No. 2003173FY, Joseph Morrison File No.
      2003172FY, Paul Bellar File No. 2003171FY; Preliminary exam testimony
      Vol. 2; March 4, 2021; Page 18/Line 17) [Emphasis mine](Exhibit 1, pages
      17-20 for context if desired)

      Defendant’s phone as well as CHS-2’s phone/other electronics contain evidence

that would have captured both the Defendant’s statements, CHS-2 statements and

illustrate how the alleged conspiracy developed as CHS-2 communicated with everyone

related to this alleged conspiracy. Further, to the extent Defendant was entrapped, the

communications between F.B.I. handlers Impola and Chambers and CHS-2 are relevant

and material to show how CHS-2, through the F.B.I, influenced the formulation of any

alleged conspiracy. As it relates to Defendant Caserta, Counsel has found a few scattered

text messages (pdf’s, not in native form) that appear to be between CHS-2 and S.A.

Impola. In one of those text messages S.A. Impola is encouraging CHS-2 (Thor) to see if

Caserta would go on a recon:


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    S.A. Impola: … I default to getting as many other guys as possible, so
                 whatever works to maximize attendance…
    ***

    S.A. Impola: I have a few goals for today

    ***

    S.A. Impola: Invite harris [co-defendant Dan Harris] for tomorrow. See if
                 ty [co-defendant Ty Garbin] can swing by for recon. Discuss
                 swinging by location 1 on the way back. I did see the
                 messenger stuff. The whole leadership thing.

    Thor:        Ill push to Harris ty and should be hes already north.. fb all
                 those guys are coming it looks like plus their guys

    S.A. Impola: Yeah, might be a ton of people

    Thor:        Bpuff is double dipping joe added him on ww [Wolverine
                 Watchmen] ive been a ghost on their. Joe is also active with
                 that leadership on messenger. Should I echo that to “the boys”
                 chat? (threema)

    S.A. Impola: Tracking. Yes, echo to The Boys

    ***

    Thor:        I push later this morning so everyone will see.

    S.A. Impola: Do you think Caserta would be down for recon too? Or not
                 worth asking

    Thor:        I think he would be.

    S.A. Impola: Would fox be good with him coming?

    Thor:        Ill ask fox first whole chain command thing. Hitch is only
                 room for passengers inclined me. So 4 others.

    S.A. Impola: Roger. Good Call.

    Thor:        We might be filled. Myself Adam mike shawn and barricade
                 (not sure on his name, but he’s confirmed coming via adam)

    S.A. Impola: That would be a good day.




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       Thor:         You guys following? I’ve been in contact with red [UCE from
                     FBI] too feeding info about what expect training and weapons
                     to expect. Their working on getting a 3d print block to make
                     ak select fire by ftx. Following us north?

       S.A. Impola: I’ll call in a bit with details. (Exhibit 2)

       Counsel does not have the remainder of this thread, the attached exhibit was

produced as a pdf with beginning bate stamp number 111,882 and ends 111,885. Whether

this 4-page thread was from S.A. Impola or CHS-2 it is believed this was an accidental

disclosure by the government as they are refusing access to CHS-2 and S.A. Impola’s

phone, and information contained thereon.

       In the small window the defense has into the communications between S.A. Impola

and CHS-2, the F.B.I. is encouraging its paid informant, on F.B.I. phones, to actively bring

Caserta into a recon to create an overt act in furtherance of a conspiracy, or create

evidence of an agreement regarding a conspiracy.

       Additionally, in this thread S.A. Impola is stating he has a few goals for today

[recon] and tells CHS-2 to invite co-defendant Dan Harris and co-defendant Ty Garbin

for the recon and telling CHS-2 where to take them, “location 1”.

       CHS-2 (Thor) gets the command from his handler and complies, actively

orchestrating and pushing at least one of the overt acts alleged in the Superseding

Indictment, that is attempting to corral as many people into the alleged conspiracy as

possible. Counsel believes the “recon” is one of two events relied upon by the government

as overt acts in the superseding indictment:

       Paragraph 9 in the superseding indictment states as follows:

       On or about August 29, 2020, ADAM DEAN FOX conducted a daytime
       surveillance of the Governor’s vacation home and drew a map on which he
       noted approximate distances from the home to police first responders.



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Paragraph 12 in the superseding indictment states as follows:

       From the night of September 12, 2020, into the early morning of September
       13, 2020, ADAM DEAN FOX, BARRY GORDON CROFT, JR., KALEB
       JAMES FRANKS, and Ty Gerard Garbin conducted a nighttime surveillance
       of the Governor’s vacation home and a nearby public boat ramp, using two-
       way radios and a night-vision scope.

       From the date on the thread, August 28th, it appears they are talking about

paragraph 9’s August 29th, 2020 recon. However, without the native file, Counsel is left

to speculate. While Defendant Caserta did not go on either “recon”, it was clearly not for

lack of F.B.I. effort.

                               LAW AND DISCUSSION

       Defendant is entitled to production of the materials sought pursuant to Fed. R.

Crim. P. 16. Rule 16(a)(1)(B) requires the Government to disclose “any relevant written

or recorded statement by the defendant if the statement is within the Government’s

control and the Government’s attorney “could know” that the statement exists.

Additionally Rule 16(a)(1)(E) requires the Government to permit defendants “to inspect”

documents and objects within the Government’s control. Rule 16 grants defendants a

broad right of discovery, which includes both exculpatory and inculpatory evidence that

is material to the defense. See United States v. Stampe, 994 F.3d 767, 771 (6th Cir. 2021).

Stampe, while very different factually from the present case, lays out the law of discovery,

the interplay between Brady and Rule 16, and the burden on the defendant attempting to

show a material need for evidence yet unknown to the defense:

       “There is no general constitutional right to discovery in a criminal case
       ....” Weatherford v. Bursey, 429 U.S. 545, 559, 97 S.Ct. 837, 51 L.Ed.2d 30
       (1977). But due process does protect defendants from government
       “suppression ... of [material] evidence favorable to” them. Brady v.
       Maryland, 373 U.S. 83, 87, 83 S.Ct. 1194, 10 L.Ed.2d 215 (1963). Evidence
       is material “if there is a reasonable probability that, had the evidence been
       disclosed to the defense, the result of the proceeding would have been


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    different.” United States v. Bagley, 473 U.S. 667, 682, 105 S.Ct. 3375, 87
    L.Ed.2d 481 (1985). Brady creates a freestanding government obligation to
    disclose material evidence. But it also contemplates that the government
    might sometimes withhold information either in good or bad faith. And that
    brings us to specific Brady requests for undisclosed materials—something
    one might call constitutional criminal discovery.

    The Supreme Court has explained that a criminal defendant may be able to
    force disclosure or in camera review of some materials if he “establish[es] a
    basis,” “some plausible showing,” “for his claim that [something
    undisclosed] contains material evidence.” Pennsylvania v. Ritchie, 480
    U.S. 39, 58 n.15, 107 S.Ct. 989, 94 L.Ed.2d 40 (1987) (quoting United States
    v. Valenzuela-Bernal, 458 U.S. 858, 867, 102 S.Ct. 3440, 73 L.Ed.2d 1193
    (1982)). This standard does not appear to require “a particularized showing
    of what information” is sought for the simple reason that before disclosure
    a defendant likely will not know the content of an undisclosed item—hence
    the request. Id. But the “plausible showing” standard remains a difficult
    hurdle; without knowing the content of a requested item, the defendant can
    likely provide little more than informed speculation as to materiality.

    The Constitution is not the only option for criminal defendants though.
    They may also seek discovery under Federal Rule of Criminal Procedure 16.
    Relevant to Stampe's appeal, Rule 16(a)(1)(E)(i) provides that “[u]pon a
    defendant's request, the government must permit the defendant to inspect
    and to copy or photograph [a document or object] within the government's
    possession, custody, or control [if] the item is material to preparing the
    defense.” This court has not fully defined the showing needed to trigger
    discovery under Rule 16(a)(1)(E)(i). But we have held that “a mere
    conclusory allegation that the requested information is material to the
    preparation of the defense” falls short. United States v. Conder, 423 F.2d
    904, 910 (6th Cir. 1970). Other courts have waded deeper into this issue,
    and they have come to different conclusions about the required
    showing. Compare United States v. Ross, 511 F.2d 757, 762–63 (5th Cir.
    1975), with United States v. Muniz-Jaquez, 718 F.3d 1180, 1183 (9th Cir.
    2013). Whatever showing is required, it appears to be less onerous than the
    showing contemplated by Ritchie because Rule 16’s materiality bar differs
    from the Brady one—some items “material to preparing the defense” may
    not necessarily be “material either to guilt or to punishment.” See Muniz-
    Jaquez, 718 F.3d at 1183 (concluding that Rule 16 is “broader than Brady”
    because “[i]nformation that is not exculpatory or impeaching may still be
    relevant to developing a possible defense”).

    Stampe at 771.




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       Pursuant to Fed. R. Crim. P. 16(a)(E)(i), if requested, the government must permit

the defendant to inspect any document or object within the government’s possession,

custody, or control if that item is material to preparing a defense. See Id. The materiality

showing under Rule 16 is “less onerous” than the materiality showing under Ritchie and

Brady. See Id. “Information that is not exculpatory or impeaching may still be relevant

to developing a possible defense.” Id. (citations and quotation marks omitted).

               Defendant’s Cell Phone and Electronic Equipment

       Defendant is entitled to review his own electronic data seized by the Government.

This issue is not in dispute as the Government has indicated to Counsel it will give this

material to the defense. However, Counsel leaves this issue in place as trial is fast

approaching and these electronic items typically contain large volumes of data.

Defendant’s items were seized 10 months ago and have not been produced as of this

writing.

CHS-2, S.A. Impola & S.A. Chamber’s Cell Phone and Electronic Equipment

       CHS-2’s phone and electronic data must be disclosed, or in the alternative S.A.

Impola and/or S.A. Chambers cell phones must be disclosed as they relate to

communications with CHS-2. Rule 16 grants defendants a broad right of discovery, which

includes both exculpatory and inculpatory evidence that is relevant to the defense. See

Stampe, 994 F.3d at 771.

       The Supreme Court has explained that a criminal defendant may be able to
       force disclosure or in camera review of some materials if he establish[es] a
       basis, some plausible showing, for his claim that [something undisclosed]
       contains material evidence.

Id. (citing Pennsylvania v. Ritchie, 480 U.S. 39, 58 n. 15 (1987). In the matter of United

States v. Mills, the defendant had sought information contained on cellphones that were



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in the possession of the government. See United States v. Mills, No. 16-cr-20460, 2019

U.S. Dist. LEXIS 126253, at *9 (E.D. Mich. July 30, 2019). After having made the

requisite preliminary showing, the Court found the government thereafter satisfied its

discovery obligations by permitting inspection of the cellphones.

       The Court finds that the Government—by producing complete data
       extractions of the devices and making the devices available for inspection—
       has satisfied its obligations under Rule 16(a)(1)(E). See Fed. R. Crim. P.
       16(a)(1)(E) (providing that the "government must permit the defendant to
       inspect and to copy . . . documents [and] data") (emphasis added).
       Therefore, Mills's request for "mirror images" is denied.

Id.

       In this case, CHS-2 is the epicenter of the alleged conspiracy. He is the hub of the

wheel, communicating with all the alleged co-conspirators on this indictment and others

charged in state court as well as other individuals who remain uncharged. CHS-2 has

coordinated with other undercover F.B.I. agents as well as other civilian undercover

operatives. Much of this coordination and communication was over F.B.I. phones used

by CHS-2, S.A. Impola and/or S.A. Chambers.

       This evidence is material to the preparation of the defense because Defendant is

likely to assert a defense of entrapment and being able to demonstrate the trajectory of

the F.B.I.’s directives to CHS-2 over time and how Defendant’s involvement was

“instigated by overzealous law enforcement agents . . .” Sosa v. Jones, 389 F.3d 644, 648

(6th Cir. 2004) is essential.

       To the extent the government asserts that these materials are protected by

investigative privilege, that privilege does not prevent disclosure of evidence material to

the defense:

       [T]he Supreme Court recognized the government's limited privilege to
       withhold from disclosure the identity of persons who furnish information of


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      violations of law to officers charged with enforcement of that law. However,
      [w]here the disclosure of an informer's identity, or of the contents of his
      communication, is relevant and helpful to the defense of an accused, or is
      essential to a fair determination of a cause, the privilege must give way. In
      making the determination, trial courts must balance the public's interest in
      protecting the flow of information against the defendant's right to prepare
      a defense. Whether a proper balance renders nondisclosure erroneous
      must depend on the particular circumstances of each case, including,
      among other relevant factors, the crime charged, the possible defenses,
      [and] the possible significance of the informer's testimony[.] We review a
      district court's decision on the matter for an abuse of discretion.

United States v. Beals, 698 F.3d 248, 269 (6th Cir. 2012). To the extent it is unclear

whether the government’s interest in protecting this information from disclosure

outweighs the Defendant’s need for these materials at trial, they may be submitted for in

camera review by the court prior to being provided to the Defendant.

      The Supreme Court has explained that a criminal defendant may be able to
      force disclosure or in camera review of some materials if he establish[es] a
      basis, some plausible showing, for his claim that [something undisclosed]
      contains material evidence.

Stampe, 994 F.3d at 771.

      In this case CHS-2 is a paid government informant.          He was paid at least

$54,000.00 including $6,000.00 in expenses for “a computer, a phone, communication

devices and accessories”. CHS-2 was involved from the beginning in March 2020 until

the end of the investigation on October 7, 2020. In that time, he was the central figure.

He was working all sides of the state. Traveling to FTX (field training exercises) in

northern Michigan, central Michigan, eastern Michigan and Wisconsin. CHS-2 was in

charge of much of the training at the FTX. CHS-2 was on the F.B.I. phone talking, text

messaging, videotaping, taking pictures or communicating through encrypted chats

weekly, if not daily, with someone associated with the investigation. CHS-2 went on trips

out of state for this investigation. CHS-2 had a multi-hour meeting specifically with Mr.



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Caserta, as well as attended other meetings where Mr. Caserta was located. CHS-2 used

his phone to push Caserta to come to a meet for “gear” on October 7, which was actually

so the F.B.I. could arrest Caserta.

       Looking at the 19 overt acts under Count 1, the individual defendants are in some

and not others. However, CHS-2 is involved in almost every one. CHS-2 was involved

in much more and much more detail could be given, but, the point again is CHS-2 is the

central figure in this investigation and will likely be a significant government witness at

the trial.

       In addition to communicating with just about everyone in this investigation, CHS-

2 was communicating with his handlers, S.A. Impola and/or S.A. Chambers. This is not

surprising and would be anticipated. What is surprising, and was unknowable to the

defense, is S.A. Impola’s encouragement to CHS-2 to bring Caserta into one of two recons,

recons that are overt acts in the government’s superseding indictment, and thus into the

conspiracy. Further, to push the recon into a specific location, location 1. This active

participation of the F.B.I. supports the defense theory of entrapment in that the

government, or someone acting for the government, induced or persuaded the defendant

to commit a crime, or an act in furtherance of the crime. See 6th Circuit Pattern Instruction

6.03 ENTRAPMENT.

       The text thread produced seems to begin mid-conversation, Counsel does not have

CHS-2’s or S.A. Impola’s phone extractions to determine who/when the conversation

began, nor when it ends. Counsel only discovered the text message thread (Exhibit 2) as

it was buried within hundreds of thousands of pdf reports, documents, text messages,

audio recordings and photographs. This type of evidence is material and critical to the




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defense that CHS-2 was actively attempting to pull a conspiracy together, create overt acts

and he was doing it as a paid informant at the behest and direction of his F.B.I. handlers.

       This type of information is typically locked away from defendants. Defendants who

pursue what they suspect might be material information run into the “fishing expedition”

reply by the government. Generally, they are right, a criminal defendant in federal court

runs into this wall and would never know there was evidence to be had. In Counsel’s

experience the government generally would not download and inspect the informants’

interactions with F.B.I. agents for Giglio, Jenks, Brady or Rule 16 material. In this case it

is unclear if CHS-2’s phone was extracted at all. It would never be known by the

government and never become known to the defense. In this case it is believed an

accidental download of a few screen shots of either CHS-2 or S.A. Impola’s phone was

inadvertently disclosed to the defense. This is the only reason we can make any showing

of materiality.

       Toward the end of the text thread after S.A. Impola and CHS-2 coordinate to get

as many people into this overt act as possible S.A. Impola indicates “Are we on Saturday

or Sunday? And I default to getting as many other guys as possible, so whatever

works to maximize attendance.”… “That would be a good day”. In other words,

if CHS-2 could induce or persuade (whatever works) as many people as possible to

commit a crime, or an act in furtherance of the crime, i.e. the recon, the F.B.I.’s conspiracy

theory gets better, the government could convict more people and that would be a good

day.

       WHEREFORE, Defendant, Caserta, requests this Court order:




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      The Government produce for inspection and copying the forensic imaging

data/data extracted for forensic examination or, in the alternative, the physical phone for

inspection and forensic examination of:

      (1) Defendant’s cellular phone and associated electronics seized by the

government;

      (2) the cellular phone used by CHS-2 (confidential human source) and associated

electronics supplied and/or paid for by the government;

      (3) the cellular phone used by S.A. Impola during this investigation;

      (4) the cellular phone used by S.A. Chambers during this investigation.

      Or, in the alternative, set a hearing date for testimony to determine materiality of

the requested disclosure;

      Or, in the alternative, order the production of the forensic imaging for an in camera

review to determine materiality.

                                                       Respectfully Submitted,

                                                       HILLS LAW OFFICE, P.C.


Dated: July 12, 2021                                    /s/Michael D. Hills
                                                       Michael D. Hills (P58571)
                                                       Attorney for Defendant

                                                       BUSINESS ADDRESS:
                                                       425 South Westnedge Ave
                                                       Kalamazoo, MI 49007
                                                       269-373-5430
                                                       mhills@hillslawoffice.com




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